Opinion filed August 21, 2024




                                      In The


        Eleventh Court of Appeals
                                   __________

                                No. 11-23-00126-CV
                                    __________

  JOHN DEATON AND DEATON LAW FIRM, LLC, Appellants
                                         V.
     LAW OFFICES OF STEVEN M. JOHNSON, P.C., Appellee


                     On Appeal from the 48th District Court
                             Tarrant County, Texas
                      Trial Court Cause No. 048-283747-16


                                   OPINION
      At times, minor disagreements and contrasting views evolve into lingering
and contentious litigation. In the eyes of many, disputes of this nature are never-
ending and fade into an abyss. This case—as other courts have also noted—is no
exception.
      The matter before us concerns the latest chapter in the parties’ ongoing feud,
which has spanned decades, over the distribution of attorney’s fees. The parties have
battled over this issue in numerous state and federal courts in Texas—at all levels of
the judiciary—and in other venues beyond our state’s borders; however, none of
these courts, or the arbitration tribunals to whom these courts have deferred, have
determined the merits of the parties’ core dispute. We do so today.
        Here,1 Appellants, John Deaton and Deaton Law Firm, challenge the trial
court’s grant of the motion to compel arbitration filed by Appellee, the Law Offices
of Steven M. Johnson, P.C., and its order confirming the arbitrator’s final award. In
three issues, Appellants contend that (1) the trial court erred when it compelled
arbitration because no signed arbitration agreement existed between the parties,
(2) vacatur of the arbitrator’s award is warranted because arbitration without an
agreement to arbitrate is an abuse of authority, which is an express ground for
vacatur under both the Federal Arbitration Act (FAA) and the Texas General
Arbitration Act (TGAA), and (3) a mandatory forum selection clause and an already-
pending lawsuit in another jurisdiction prohibited the parties from arbitrating in this
case. For the reasons expressed below, we affirm.




        1
          Appellants originally appealed to the Second Court of Appeals. This appeal was subsequently
transferred to our court by order of the Texas Supreme Court after the seven justices of the Second Court
of Appeals recused. See TEX. GOV’T CODE ANN. § 73.001(a) (West Supp. 2023); Miles v. Ford Motor Co.,
914 S.W.2d 135, 137 (Tex. 1995); see also TEX. R. APP. P. 16.2 (grounds for recusal of an appellate court
justice or judge); TEX. R. CIV. P. 18b(b) (grounds for recusal). As the transferee court, we must decide the
issues raised in this appeal in accordance with the precedent of the Second Court of Appeals if its precedent
conflicts with ours. See TEX. R. APP. P. 41.3.
                                                     2
                             I. Factual and Procedural Background
        This appeal is the next edition2 to an already tortured procedural chronicle
“that exceeds all bounds of reasonable behavior.” 3 At the bottom of this litigious
bog lies an unpleasant truth. Working together in mass tort litigation that involved
hernia repair Kugel Mesh, from approximately 2008 to 2015, the parties agreed to
share attorney’s fees that were generated from that litigation. Eventually, their
relationship soured and, rather than resolving their disagreements in a civil manner,
for years they have opted to engage in costly, prolonged, and largely ineffective
litigation across the full gamut of available dispute resolution mediums—including
filings in multiple state and federal trial and appellate courts, as well as engaging in,
at times over objection, mediation and arbitration. Because the context of the
parties’ unraveled relationship is important to our analysis, we review the
background of their disputes and resulting battles in grave detail. 4




        2
          See In re: All Individual Kugel Mesh Cases, No. PC-2008-9999, 2022 WL 19705089, at *1–9 (R.I.
Super. Ct. Nov. 10, 2022) (providing an exhaustive review of the relevant background and history of the
parties’ disputes); Deaton v. Johnson, C.A. No. 22-187WES, 2023 WL 3158933, at *1 n.1 (D. R.I. Apr. 26,
2023) (recounting the abundant decisions, opinions, and orders pertaining to the parties’ disputes).
Additionally, the United States District Court for the Northern District of Texas, Fort Worth Division,
recently dismissed the claims that Appellants asserted against Appellee and others for breach of contract,
fraud and fraud in the inducement, tortious interference, and conspiracy, because these claims had already
been litigated and adjudicated or could have been litigated or adjudicated in the arbitration proceeding
underlying this appeal. See Deaton v. Johnson, No. 4:23-CV-00415-O, 2024 WL 920082 (N.D. Tex.
Mar. 4, 2024) (slip op.).
        3
          The Honorable Mark Whittington, the arbitrator in the underlying proceeding, who is also a former
state district court judge and a former justice of the Fifth Court of Appeals sitting in Dallas, keenly described
this feud as an “extraordinary dispute” in which “[b]oth sides have engaged in unprofessional conduct and
their actions have benefitted neither themselves nor their clients.” We agree.
        Here, we focus primarily on Appellants’ conduct because it is their conduct that determines
        4

whether they “embraced” the ARAs under the doctrine of direct benefits estoppel. This focus does not
imply that either party’s behavior was more or less unreasonable as their disputes percolated over time.
                                                       3
        A. The Parties’ Original Agreements
        The genesis of the parties’ relationship began in 2008, when Appellee began
filing lawsuits in Rhode Island and elsewhere on behalf of numerous clients5
alleging that the clients’ injuries and conditions were caused by defective Kugel
Mesh implants that were manufactured by C.R. Bard, Inc., and its subsidiary Davol,
Inc. (following the parties’ style in their briefs, we will refer to the manufacturer-
defendants collectively as Bard/Davol). Appellee, a Texas law firm, executed an
Attorney Representation Agreement (ARA) with each client, including Moreno.
The ARAs specify that they (1) were executed in Tarrant County, (2) are to be
construed pursuant to Texas law, (3) are performable in Texas, (4) permit Appellee
to retain associate counsel to represent the clients, and (5) require the clients and
Appellee to arbitrate “any dispute arising from the interpretation, performance, or
breach” of the agreement in Fort Worth.
        In connection with some of the ARAs, and through a general fee-sharing
agreement, Appellee engaged Appellants to act as local counsel for Appellee by
filing Kugel Mesh lawsuits in a Rhode Island superior court. Initially, the parties to
this appeal agreed that Appellants would receive five percent of all attorney’s fees
that were ultimately recovered in the lawsuits that they filed as local counsel for
Appellee.      This fee-sharing agreement, which is expressed in an e-mail from
Appellee to Appellants, is reproduced below:




        5
         One such client is Margaret Moreno, the original plaintiff in the underlying lawsuit that generated
this appeal. Moreno originally filed a legal malpractice action against both Appellee and Appellants and
moved to compel arbitration. Appellee answered and filed cross-claims against Appellants. Moreno later
nonsuited her claims.
                                                     4
      As further stated below, the parties later agreed to increase Appellants’
attorney’s fee recovery to ten percent:




Appellants filed 176 Kugel Mesh lawsuits in a Rhode Island superior court as local
counsel for Appellee. Appellee prepared each individual client’s original complaint
and sent them to Appellants, who filed the complaints in the superior court. The
parties also agreed that Appellants would file and argue any motions regarding the
reduction of certain fees related to the mass tort litigation and that Appellee would
consider paying a bonus to Appellants based on the results of these additional efforts.
      B. The Patton Referral
      Appellee also filed Kugel Mesh lawsuits in federal court, which were later
consolidated with other pending lawsuits into a multi-district litigation (MDL)

                                          5
docket in the United States Court for the District of Rhode Island. After the federal
district court there slated one of Appellee’s lawsuits, for a plaintiff named Rickie
Patton, as a bellwether case in the MDL proceedings,6 Appellee and Appellants
executed a separate referral agreement, reproduced below, through which they
agreed that Appellants would serve as Patton’s lead trial counsel, and Appellee
would receive one-third of the recovered fees:




This agreement was executed in August 2012. At the outset, Appellants asserted
that, by this agreement, Appellee relinquished settlement authority to them for the
Patton lawsuit; however, Appellants later conceded that this was not so. Appellants
“[f]ront[ed] tens of thousands of dollars” to develop Patton’s lawsuit for trial,
including conducting nine depositions, propounding discovery, retaining and
deposing experts, and engaging in motion practice. Appellee reimbursed Appellants
for some of the costs associated with their efforts. In this regard, Appellant Deaton
stated that he essentially put his entire law practice on hold for approximately six
months so that he could focus exclusively on the Patton lawsuit.



      6
       See All Individual Kugel Mesh Cases, 2022 WL 19705089, at *1.
                                                6
      The Patton lawsuit morphed into a momentous point of contention between
the parties, who, not surprisingly, contest the facts underlying that dispute. Patton’s
lawsuit was selected as a bellwether case by Bard/Davol. “Bellwether” lawsuits help
establish a “party liability” baseline for similar lawsuits. As such, rather than
proceeding to trial in every individual lawsuit, the parties litigate a small number of
bellwether lawsuits, the results of which serve as benchmarks that can extrapolate
the “floor” and the “ceiling” of settlement values for all such lawsuits. Typically,
the defendants and the plaintiffs in these cases are both permitted to select some of
the lawsuits that will be tried as bellwether cases. Consequently, product liability
defendants like Bard/Davol would select lawsuits that had very poor prospects of
establishing liability for those defendants as bellwether cases, while plaintiffs would
select focal cases that best presented their theory of product liability.
      Regarding Patton’s lawsuit, Appellee believed that “enormous problems”
existed with it, namely that Patton had a preexisting medical history of developing
hernias, which complicated proving a causal link between the alleged Kugel Mesh
defects and Patton’s claimed injuries. Because of this, according to Appellee, some
expert witnesses were not willing to testify that the Kugel Mesh specifically caused
Patton’s injuries. In addition, the timeline of Patton’s lawsuit was compressed by
an impending statute-of-limitations deadline and a constricted scheduling order
imposed by the federal district court. Appellants were aware of the “issues” that
existed in Patton’s lawsuit but agreed to accept a referral and to take the lead in
preparing Patton’s lawsuit for trial.
      In November 2012, the Patton lawsuit was removed from the federal district
court’s active docket, and it was never tried as a bellwether case. Appellee asserts
that this was because Patton’s lawsuit was weak from the beginning, had little chance
of success, and Appellants had failed to work up the case adequately, which resulted
in their causation expert witness being struck. Appellants, on the other hand,
                                           7
believed that they had diligently created enough uncertainty in the outcome of the
Patton lawsuit, that they had clearly demonstrated their commitment to taking the
case to trial, and that their preparation had influenced Bard/Davol’s decision to settle
all of Appellee’s pending Kugel Mesh lawsuits. Appellants also believed that
Patton’s lawsuit had a potentially high settlement value based on other settled cases
that Appellants perceived to be factually similar to Patton’s.
      C. Appellee and Bard/Davol Settle
      In June 2014, Appellee reached a global settlement with Bard/Davol for its
state and federal court Kugel Mesh clients, and a Master Settlement Agreement
(MSA) was executed, which provided a framework for individual settlements
between Bard/Davol and Appellee’s clients. Although Appellants assert that the
development of the Patton lawsuit was a significant factor in the negotiation and
execution of the MSA, Appellee contends that unrelated developments in Kugel
Mesh lawsuits that they filed in Illinois, for which Appellants did not serve as local
counsel, were the moving force toward consummating the settlement.
      In any event, settlement negotiations had been ongoing for some time and
Appellants and Appellee were both involved in those negotiations. At some point,
Appellee and Bard/Davol agreed that the Honorable Alice Gibney of the Rhode
Island superior court should preside over the mediation of all of Appellee’s pending
lawsuits, including those filed in other state and federal courts. While mediation
was ongoing, Justice Gibney appointed Appellants to take the lead in negotiating
with Bard/Davol because Appellee’s interactions with Bard/Davol had become
contentious.
      The MSA provided that each claimant could choose to execute a release of all
claims asserted, or to be asserted, against Bard/Davol. In consideration, Bard/Davol
agreed to pay each claimant a confidential settlement amount, inclusive of attorney’s
fees and costs. This settlement proposal was contingent on a certain threshold
                                           8
percentage of Appellee’s clients opting into the settlement framework. Once the
requisite percentage of Appellee’s clients reached these thresholds, Bard/Davol
agreed to fund a Qualified Settlement Fund (QSF), which would be established by
the Rhode Island superior court pursuant to Section 468B of the Internal Revenue
Code and be administered by an independent third-party administrator.
      The MSA contained a confidentiality provision that applied, among other
things, to the disclosure of settlement amounts paid to settling claimants. The MSA
provided that only counsel, co-counsel, and claimants, as defined in the MSA, are
exempted from the confidentiality requirement and defined “Claimants’ Counsel” as
“the Johnson Law Firm and the counsel, if any, listed on Exhibit 2.” No “Exhibit 2”
is included in the record before us and it is undisputed that Appellants were neither
listed nor identified in this exhibit. The MSA further provided that “Claimants’
Counsel represents and warrants that 100% of its known Claimants are participating
in this Agreement.”
      The MSA also required that “[a]ny dispute arising under this Agreement or
relating to the subject matter thereof, shall be filed only in the Superior Court of
Rhode Island and Settling Claimants, Claimants’ Counsel and/or Co-Counsel hereby
submit himself, herself, itself, or themselves to the personal jurisdiction of the
Superior Court of Rhode Island.”
      D. The Parties’ Fee Dispute Erupts
      Although Appellee claimed that it notified Appellants that they had negotiated
a global settlement for the Kugel Mesh clients, Appellants asserted that they only
discovered the global settlement amount through Patton, who had received a
settlement packet in the mail from Appellee that contained information about the
global settlement. Appellants began inquiring about the global settlement’s terms
and how the terms would pertain to Patton specifically; however, Appellee did not
immediately discuss those particulars with Appellants. Appellants claimed that
                                         9
Patton had high expectations for the amount of monies that he would receive from
the settlement and that they had incurred significant expenses in preparing Patton’s
case for trial. However, Appellants stated that, as long as Patton consented to and
agreed with the settlement terms, Appellants would accept the settlement terms as
well.
        Patton opted into the global settlement without Appellants’ immediate
knowledge. Appellants speculated that Appellee avoided disclosing settlement
information to them because the settlement amount allocated to Patton was lower
than Appellants believed it should have been. Appellants suggested that Patton may
not have opted into the global settlement if they had been able to advise him of its
implications.
        Sometime after the execution of the MSA, Appellee sent Appellants a
stipulation to sign; the executed stipulation was required to establish the QSF. In
the letter that accompanied the stipulation, Appellee stressed the time sensitivity of
the QSF stipulation, because it was a requisite part of moving forward with the QSF,
and they requested that Appellants execute it immediately. Appellants also were
contacted by Bard/Davol during this time and were asked to dismiss their clients’
lawsuits because a settlement had been reached. The QSF stipulation did not purport
to dismiss any pending lawsuits nor did it refer to any specific claimant settlements,
and Appellee did not ask Appellants to sign any client dismissals in connection with
the QSF stipulation.
        Instead of executing the QSF stipulation, Appellants repeatedly asked
Appellee for information to evaluate the global settlement, explaining that they
needed to ensure that the settlement was in the clients’ best interests and that it would
be inappropriate for them to sign dismissals or to execute the QSF without reviewing
the settlement information. Appellants also informed Bard/Davol that they would


                                           10
not sign the QSF stipulation, or dismiss any pending lawsuits, until they had received
and reviewed this settlement information.
      Appellee was concerned that Appellants could not be exempted from the MSA
confidentiality requirement because Appellants had worked with other law firms and
clients in the Kugel Mesh litigation, and therefore could not meet the MSA provision
that “Claimants’ Counsel represents and warrants” that 100% of its known claimants
were participating in the MSA. Appellee also complained that Appellants never
specified what information they wished to receive, although Appellants insisted that
they had listed and identified such information in the letters they sent to Appellee.
Appellants emphasized that they were the only counsel of record in the Rhode Island
state court lawsuits, that they at times had spearheaded the settlement negotiations
between Appellee and Bard/Davol, and that the confidentiality concerns cited by
Appellee were absurd.
      Appellee asserted that, due to the contentious relationship with the attorneys
representing Bard/Davol, Appellee was concerned that these attorneys would
consider the disclosure of any MSA information to Appellants to be a breach of the
MSA, and therefore void the settlement.          However, in a letter to Appellee,
Bard/Davol’s counsel authorized Appellee to “share any and all information with
[Appellants] as if [they were] a claimant’s Counsel and/or co-Counsel, as those
terms are defined and used in the MSA.” Even after this, Appellee did not provide
settlement information to Appellants and continued to cite confidentiality concerns
as the reason.
      In connection with this dispute, Appellants eventually sent a letter to
Bard/Davol that provided notice of their intent to file a $1 million attorney’s fee lien
against the settlement funds. Appellants later expressed that the information they
required included: (1) which clients had opted in or out of the global settlement,
(2) which clients’ lawsuits would be dismissed with prejudice, (3) whether
                                          11
Appellant should take the lead for the clients who opted out of the settlement, and
(4) the contingency fee percentages contained in each client’s ARA, so that
Appellants could determine their attorney’s fee recovery.
      Appellants’ refusal to execute the QSF stipulation delayed the funding of the
QSF for months. Because Appellants refused to pursue any requested action to
establish the QSF and thus facilitate the payment of the settlement funds to the
clients, Appellee terminated Appellants as local counsel and engaged replacement
local counsel who promptly executed the QSF stipulation. Appellants refused to
accept this, even though they received multiple client affidavits confirming their
termination; they also refused to withdraw from the lawsuits filed in the Rhode
Island superior court.
      E. $1 Million of QSF Funds are Segregated for Distribution
      Despite their termination, Appellants filed a motion on behalf of all Kugel
Mesh clients in the Rhode Island superior court for whom they had filed lawsuits, in
which Appellants moved to compel Appellee to disclose the settlement allocations
and to enforce their attorney’s fee lien. In that motion, Appellants argued that they
needed the settlement information, including each client’s retainer information, to
determine the amount of attorney’s fees they were owed. On March 11, 2016, the
Rhode Island superior court held a hearing on Appellants’ motion and ultimately
signed an order directing (1) the third-party administrator of the QSF to segregate
$1 million of the settlement funds, (2) Appellee to provide Appellants with client
ARAs, and (3) Bard/Davol to provide Appellants with the requested settlement
allocations.
      Over the next several months, Appellee, as directed, provided Appellants with
client ARAs. Prior to these disclosures, Appellants executed a stipulation of non-
disclosure of client information in which they stated that they had acted as counsel


                                         12
in the Kugel Mesh litigation pursuant to the authority granted in the client ARAs.
This stipulation is reproduced below:




From the information contained in the ARAs, it became evident that Appellants’
maximum potential claim and recovery for the shared attorney’s fees was less than
$400,000. Nevertheless, Appellants did not modify or limit their attorney’s fee lien
or inform the Rhode Island superior court that the segregated amount far exceeded
their maximum potential claim and recovery.
      In addition to the excessive amount of the segregated funds, the superior
court’s segregation order failed to limit the source of these funds to only attorney’s
fees—which were also to be paid from the QSF—thus, the segregated funds include
funds that are due the clients. In fact, the segregated funds remain in the QSF today.
      F. Patton Sues and Appellants Finance Patton’s Lawsuit
      Soon afterwards, Patton sued Appellee and others for legal malpractice in
federal court in Rhode Island. See Patton v. Johnson, C.A. No. 17-259WES, 2018
WL 3655785 (D. R.I. Aug. 2, 2018). The outcome of that lawsuit need not be fully
discussed here; however, it is significant that Patton’s protracted litigation against
                                         13
Appellee in that case was promoted and financed by Appellants (who did not
represent Patton in that lawsuit). See Deaton v. Johnson, C.A. No. 20-78WES, 2020
WL 4673834, at *2 n.5 (D. R.I. Aug. 12, 2020) (noting the “potentially troubling”
fact that Appellants’ expenditures in financing Patton’s lawsuit substantially
exceeded any possible amount that Patton could recover).
         Following its own procedurally complex route, Patton’s lawsuit eventually
wound up in arbitration in Texas. The arbitrator rejected all of the claims that Patton
had asserted against Appellee, and the United States District Court for the Northern
District of Texas, Fort Worth Division, confirmed the arbitrator’s award and signed
a final judgment, which neither party appealed. See Patton v. Johnson, No. 4:19-
CV-00698-O, 2022 WL 3012537 (N.D. Tex. June 23, 2022); see also All Individual
Kugel Mesh Cases, 2022 WL 19705089, at *1–9, *15–16 (comprehensively
reviewing the travels of Patton’s lawsuit and ultimately determining that the
Northern District of Texas Court’s confirmation order and final judgment precluded
further litigation on the issue of arbitrability between Patton, Appellee, and
Appellee’s attorneys). It is Appellants’ involvement in that litigation, rather than its
substantive outcome, that is relevant to this appeal. As discussed below, Appellants
not only financed Patton’s lawsuit against Appellee, but they also later sought to
recover the amounts they expended in that case from the $1 million segregated QSF
funds.
         G. The Filing of Multiple Motions to Disburse the Segregated Funds
         Since 2020, Appellants have filed two motions to disburse the segregated QSF
funds. First, in January 2020, Appellants filed a motion for attorney’s fees on their
own behalf with the Rhode Island superior court, which requested that the entire
$1 million in segregated funds be disbursed to them from the QSF. See In re: All
Individual Kugel Mesh Cases, No. PC-2008-9999, 2020 WL 6335955, at *2 (R. I.
Super. Ct. Oct. 22, 2020). In that motion, Appellants argued that the attorney’s fees
                                          14
they incurred for the lawsuits filed in the Rhode Island superior court were between
$387,000 and $396,000. Appellants dedicated the majority of their motion to
arguments concerning events that occurred in the Patton lawsuit, which included
allegations that an attorney who worked for Appellee met with Patton and
misrepresented the amount of settlement funds that Patton would receive if he opted
into the global settlement. Appellants later conceded that these allegations, which
were supplied by Patton’s affidavit, were false.
         Appellants explained that, as a result of their representation of Patton, (1) they
had incurred approximately $477,000 in attorney’s fees and (2) the superior court
could, on its face, accept that they would incur additional, substantial attorney’s fees
and costs that would likely exceed $130,000, thus incurring a combined attorney’s
fee debt in excess of $1 million. Interestingly, Appellants attorney’s fees for
Patton’s Kugel Mesh settlement amounted only to approximately $37,000. The
remainder of the attorney’s fee amount that Appellants quoted in their motion
concerned the fees and costs that they incurred in Patton’s legal malpractice lawsuit
against Appellee and its attorneys—an entirely separate affair that is not governed
by the parties’ referral agreement, and which Appellants, among other things,
financed by retaining and compensating other attorneys and paying other litigation
costs.
         Appellee intervened and removed this lawsuit to federal court, but it was later
remanded to the superior court. Deaton, 2020 WL 4673834, at *9. There, Appellee
moved to stay Appellants disbursal motion, in part, on the basis that Appellants’
entitlement to the segregated funds should be determined in the then-pending
arbitration that is the focus of the appeal before us, in accordance with the FAA’s
mandatory stay provisions. All Individual Kugel Mesh Cases, 2020 WL 6335955,
at *3. The superior court denied Appellee’s request for a stay and, in doing so,
discussed whether the doctrine of direct-benefits estoppel should bind Appellants to
                                             15
the arbitration provision of the ARA. Id. at *4–5. The superior court found that it
did not, because Appellants had not yet received any direct benefits, as, in its
opinion, the application of the doctrine requires. It stated:
      To date, [Deaton] has received no benefits from the referral agreements
      that he signed, and which contained no arbitration clauses. It seems
      [the Johnson Law Firm] wants this Court to compel [Deaton] to
      arbitrate before he can receive the direct benefit of his agreement to
      serve as co-counsel based on the idea that [Deaton] has derived direct
      benefits from the [ARAs]. These two kinds of agreements are distinct
      and [the Johnson Law Firm’s] attempts to conflate them are unavailing.
Id. at *5 (internal citations omitted).
      The superior court further reasoned that Appellants had properly brought the
motion to disburse, as Appellee had agreed to do under the MSA, because the MSA
stipulation and the superior court’s March 11, 2016 order segregating the $1 million
of QSF funds and compelling Appellee to disclose settlement information to
Appellants required it. Id. Finally, the superior court noted that, although the
doctrine of direct-benefits estoppel applies in cases that involve non-signatories who
embrace the contract but then attempt to repudiate its arbitration clause during the
litigation process, Appellants had never attempted to repudiate the arbitration
clause; rather, Appellants had simply pointed out that they were not a party to it. Id.
Accordingly, the superior court declined to exercise its discretion to impose an
obligation to arbitrate on Appellants. Id.
      Appellee has appealed the superior court’s ruling. Recently, on July 9, 2024,
the Rhode Island Supreme Court issued an order regarding that appeal. In re Kugel
Patch, 317 A.3d 781 (R.I. 2024). In its order, the court stated that “[i]t is clear to us
that the circumstances of this case are far different now than . . . when the Superior
Court issued its decision on Johnson’s motion to stay.” Id. at 783. Recognizing that
the appeal of the superior court’s ruling would become moot once the appeal now
pending before us is decided and any further appeals are exhausted, the court
                                           16
“deem[ed] it prudent to stay any further action on Deaton’s motion to disburse until
the remaining arbitration in Texas is finally resolved.” Id. The court noted that,
whatever the result of this or any subsequent appeal, it expressed no opinion
regarding the “preclusive effect, if any, the arbitral proceedings may have on the
issues that may later be raised in Superior Court.” Id. at 783 n.2.
      Appellants’ second motion to disburse was filed in May 2022, when Patton
requested that the Rhode Island superior court, through his attorney of record,
Deaton, disburse his allocation of the QSF funds to Deaton as his trustee. All
Individual Kugel Mesh Cases, 2022 WL 19705089, at *8. This motion apparently
also asserts that, pursuant to the referral agreement between Appellants and
Appellee, Appellants must receive their attorney’s fees from Patton’s recovery and
are solely responsible for asserting any claims for litigation expenses. Id. Once
again, Appellee intervened and moved to stay Patton’s motion. Id. Based on the
preclusive effect of the many decisions issued by the state and federal courts in Texas
that found Patton had agreed to arbitrate his disputes under the ARA, the Rhode
Island superior court determined that the issues raised in Patton’s motion were
referable to arbitration under his ARA; accordingly, it granted Appellee’s motion to
stay Appellants’ motion to disburse. Id. at *11–16.
      Significantly, the superior court also noted that its retention of continuing
jurisdiction over the QSF “did not thereby bind all claimants and their attorneys . . .
to resolve all disputes underlying the proper calculation of their ‘legal fees and costs’
through de novo hearings or mini-trials before this Court.” Id. at *15. The superior
court further explained that “[g]iven the existence of a judicially confirmed—and
evidently, an ongoing—arbitration proceeding between Patton and [Appellee], it is
time to put the issue of arbitrability to bed so that the parties can resolve their




                                           17
remaining substantive disputes.” 7 Id. Finally, the superior court reaffirmed, albeit
in a footnote, that although the MSA provides that venue for all disputes arising from
the MSA rests with the superior court of Rhode Island, those provisions “do not
change the outcome [of its decision to grant the stay], as the underlying proceedings
before the Court involve a dispute between Patton and [Appellee] over attorneys’
fees and costs, rather than any dispute over the substance of the Settlement
Agreement.” Id. at *16 n.11.
        Thus, two stayed motions—one by Appellants and one by Patton, through his
attorney, Appellant Deaton—to disburse the segregated funds from the QSF remain
pending in the Rhode Island superior court.
        H. Special Appearance, Arbitration, and the Appeal in This Case
        In February 2016, about a month before Appellants filed their motion to
compel in the Rhode Island superior court, Moreno filed the underlying lawsuit
against Appellants and Appellee in the 48th District Court of Tarrant County. She
subsequently moved to compel arbitration based on her ARA. Appellee answered,
filed cross-claims against Appellants, and eventually joined in Moreno’s motion to
compel arbitration.
        Appellants filed a special appearance challenging the trial court’s personal
jurisdiction over them. Appellants contended that they were not signatories to the
Moreno ARA, which contained a forum-selection clause as well as an arbitration
clause designating Fort Worth and Tarrant County as the proper forum for any
dispute resolution proceeding.                 The trial court denied Appellants’ special


        7
          Although a final award has been entered and confirmed in the Patton arbitration, the superior court
characterized the arbitration as “ongoing.” All Individual Kugel Mesh Cases, 2022 WL 19705089, at *15.
This is, in one court’s estimation, because Appellee’s fee entitlement has not yet been resolved and will not
be until the QSF administrator issues its final determination of deductible court costs and expenses, and
Patton receives the net disbursement from which he will owe Appellee its fee. See Deaton, 2023
WL 3158933, at *4 n.6.
                                                     18
appearance. On appeal from the trial court’s ruling, the Second Court of Appeals
affirmed the denial and, in doing so, explicitly relied on the language in the
stipulation of nondisclosure that Appellants had executed. See Deaton v. Moreno,
No. 02-16-00188-CV, 2017 WL 4683940, at *5 (Tex. App.—Fort Worth Oct. 19,
2017, pet. denied) (mem. op.). The court held that, for jurisdictional purposes, as
non-signatories, Appellants were subject to the forum-selection clause in the Moreno
ARA under the doctrine of direct-benefits estoppel. Id.      The trial court subsequently ordered the parties to arbitration, over
Appellants’ objection. With Moreno having nonsuited her claims, Appellants and
Appellee proceeded to arbitration. Upon the conclusion of the arbitration, the
arbitrator determined that the fee-sharing agreement between Appellants and
Appellee was unenforceable as against public policy because they had failed to
obtain client consents to enter into the agreement. See TEX. DISCIPLINARY RULES
PROF’L CONDUCT R. 1.04(f), reprinted in TEX. GOV’T CODE ANN., tit. 2, subtit. G
app. A (Tex. State Bar R. art. X, § 9); Cokinos, Bosien &amp; Young v. Moore, No. 05-
18-01340-CV, 2020 WL 549066, at *2–6 (Tex. App.—Dallas Feb. 4, 2020, no pet.)
(mem. op.). The arbitrator then awarded Appellants $135,000 in quantum meruit
damages for services rendered to Appellee. Appellee thereafter filed an application
to confirm the arbitrator’s award. Appellants opposed Appellee’s motion and filed
a separate motion that (1) challenged the trial court’s ruling that ordered the parties
to arbitration, (2) challenged the resulting arbitration proceeding, and (3) sought to
vacate the arbitrator’s award. The trial court confirmed the arbitrator’s award,
Appellants appealed, and the appeal was later transferred to our court.
      I. Appellants File Suit Against Appellee in Federal Court in Rhode Island
      Around May 2022, Appellants filed suit against Steven Johnson, Blake
Norvell, Jennifer Andrews, and Appellee in the Rhode Island superior court, and re-
urged the fraud and breach-of-contract claims they had asserted against Appellee in
                                          19
the appeal now before us. See Deaton v. Johnson, C.A. No. 22-187WES, 2023 WL
3158933, at *7 (D. R.I. Apr. 26, 2023). In this lawsuit, Appellants added claims for
tortious interference and conspiracy against Appellee and the attorney defendants,
alleging that the named defendants strategically conspired to force Appellants to
arbitrate in Texas and thus avoid Appellee’s obligation to share the disputed
attorney’s fees. Id. This lawsuit was removed to federal court in Rhode Island but
was thereafter transferred to the United States District Court for the Northern District
of Texas, Fort Worth Division; that court has since determined that all of Appellants’
claims are precluded by the underlying lawsuit and arbitration proceedings that are
the basis of the appeal that is now before us. See id. at *9–11; see also Deaton v.
Johnson, No. 4:23-CV-00415-O, 2024 WL 920082, at *2, *4–5 (N.D. Tex. Mar. 4,
2024) (slip op.). As a result, the claims asserted by Appellants against each
defendant were dismissed with prejudice. See Deaton, 2024 WL 920082, at *6.
       Notably, in its ruling, the federal district court also denied the defendants’
motion to declare Appellants as vexatious litigants, but issued a warning at the
conclusion of its order that “any additional lawsuits [filed] in the Northern District
of Texas, Fort Worth Division, which are of a similarly duplicative or antagonistic
nature SHALL result in either a monetary sanction . . . or an injunction restraining
[the attorney’s] capacity to file or otherwise appear . . . in the Fort Worth Division.”
Id. at *6.
                    II. Standards of Review and Applicable Law
       A. The Trial Court’s Order to Compel Arbitration
       We may review a trial court’s order to compel arbitration as part of an appeal
of a final judgment. See In re Gulf Expl., LLC, 289 S.W.3d 836, 842–43 (Tex. 2009);
Perry Homes v. Cull, 258 S.W.3d 580, 586–87 &amp; n.9 (Tex. 2008); Chambers v.
O’Quinn, 242 S.W.3d 30, 32 (Tex. 2007) (citing Green Tree Fin. Corp. v. Randolph,
531 U.S. 79, 89 (2000)). We review a trial court’s order granting a motion to compel
                                          20
arbitration for an abuse of discretion; in this regard, we defer to the trial court’s
factual determinations if they are supported by the evidence, but we review its legal
determinations de novo. In re Labatt Food Serv., L.P., 279 S.W.3d 640, 642–43
(Tex. 2009) (orig. proceeding); see Perry Homes, 258 S.W.3d at 585–87 &amp; n.15.
Where an abuse of discretion standard applies, and, as in this case, the trial court
does not issue findings of fact and conclusions of law with its ruling, all facts
necessary to support the trial court’s judgment and which are supported by the
evidence are implied. See BMC Software Belgium, N.V. v. Marchand, 83 S.W.3d
789, 795 (Tex. 2002); see also Labatt Food Serv., 279 S.W.3d at 643. We review
de novo whether an arbitration agreement is enforceable. See Rachal v. Reitz, 403
S.W.3d 840, 843 (Tex. 2013); Labatt Food Serv., 279 S.W.3d at 643.
        Generally,8 arbitration is required if (1) the parties agreed to arbitrate, and
(2) the claims raised fall within the scope of the arbitration agreement. See 9 U.S.C.
§§ 2, 4 (FAA); CIV. PRAC. &amp; REM. §§ 171.001, 171.002, 171.021 (West 2019)
(TGAA); Rachal, 403 S.W.3d at 843 (TGAA); In re Rubiola, 334 S.W.3d 220, 223
(Tex. 2011) (FAA); In re Kellogg Brown &amp; Root, Inc., 166 S.W.3d 732, 738 (Tex.
2005) (FAA). Whether parties have agreed to arbitrate is a gateway matter that is
ordinarily committed to the trial court and controlled by state law that governs “the

        8
          The arbitration clause at issue in this appeal does not specifically invoke either the FAA or the
TGAA, and neither party addresses this point. The FAA governs a contract that involves interstate
commerce if the contract contains a valid arbitration provision and does not specify that the FAA will not
apply. Brand FX, LLC v. Rhine, 458 S.W.3d 195, 202 (Tex. App.—Fort Worth 2015, no pet.). When both
state and federal law apply to an arbitration agreement, state law is preempted “to the extent that it actually
conflicts with federal law—that is, to the extent that it ‘stands as an obstacle to the accomplishment and
execution of the full purposes and objectives of Congress.’” Nafta Traders, Inc. v. Quinn, 339 S.W.3d 84,
97–98 (Tex. 2011) (quoting Volt Info. Scis., Inc. v. Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S.
468, 477 (1989)). The TGAA and the FAA may both be applicable to an agreement, absent the parties’
explicit selection of one or the other. Id. at 97 n.64 (citing In re L &amp; L Kempwood Assocs., L.P., 9 S.W.3d
125, 127–28 (Tex. 1999)). Here, the ground for which Appellants seek vacatur is substantially similar
under either statute. Compare 9 U.S.C. § 10(a)(4), with CIV. PRAC. &amp; REM. § 171.088(a)(3)(A); see Gulf
Expl., LLC, 289 S.W.3d at 842. Because the substantive principles that are applicable to our analysis in
this appeal and the available grounds to review an arbitration award are the same under both statutes, we
may find guidance in court decisions that arise under either. See Howerton v. Wood, No. 02-15-00327-CV,
2017 WL 710631, at *2 (Tex. App.—Fort Worth Feb. 23, 2017, no pet.) (mem. op.).
                                                       21
validity, revocability, and enforceability of contracts generally.” Jody James Farms,
JV v. Altman Grp., Inc., 547 S.W.3d 624, 631 (Tex. 2018) (quoting Arthur Anderson
LLP v. Carlisle, 556 U.S. 624, 631 (2009)); see In re Weekley Homes, L.P., 180
S.W.3d 127, 130–31 (Tex. 2005). Thus, the ordinary principles of contract law of
the forum state determine whether the parties have a valid agreement to arbitrate.
Rubiola, 334 S.W.3d at 224.
      Although state law determines the validity of an arbitration agreement, courts
have applied both federal and state law to determine the related, but distinct, issue
of whether non-signatories to the agreement should be compelled to arbitrate their
claims. See Kellogg, 166 S.W.3d at 738 (collecting cases). The Texas Supreme
Court has endeavored to resolve such questions through the application of state law
“informed by persuasive and well-reasoned federal precedent,” and, in doing so, the
court recognizes that it is “important for federal and state law to be as consistent as
possible in this area.” Id. at 739. As such, consistent with federal precedent, the
Texas Supreme Court has recognized six theories, that arise from common principles
of contract and agency law, that may bind non-signatories to arbitration agreements:
(1) incorporation by reference; (2) assumption; (3) agency; (4) alter ego;
(5) equitable estoppel; and (6) third-party beneficiary. See G. T. Leach Builders,
LLC v. Sapphire V.P., L.P., 458 S.W.3d 502, 524 (Tex. 2015); Kellogg, 166 S.W.3d
at 739 (citing Bridas S.A.P.I.C. v. Gov’t of Turkm., 345 F.3d 347, 356 (5th Cir.
2003)).
      B. Confirmation of the Arbitrator’s Award
      The Second Court of Appeals has set forth the following standard for
reviewing arbitration awards, with which we agree:
            An arbitration award is conclusive on the parties as to all matters
      of fact and law submitted to the arbitrator and has the effect of a
      judgment of a court of last resort. Accordingly, judicial review of an

                                          22
      arbitration award is extraordinarily narrow, and we may vacate an
      arbitration award only in very unusual circumstances.
             To protect the strong deference accorded to arbitration awards,
      we review a trial court’s ruling to vacate or confirm an arbitration award
      de novo based on the entire record. All reasonable presumptions are
      indulged in favor of the award, and the challenging party bears the
      burden to establish an allowable ground for vacatur. We must focus on
      the integrity of the process, not the propriety of the result.
Howerton v. Wood, No. 02-15-00327-CV, 2017 WL 710631, at *3 (Tex. App.—
Fort Worth Feb. 23, 2017, no pet.) (mem. op.) (internal citations omitted).
                                     III. Analysis
      In their first issue, Appellants contend that the trial court erred when it ordered
them to arbitration because no agreement to arbitrate exists between the parties. In
support of this contention, Appellants argue that (1) the Second Court of Appeals’
decision affirming the denial of their special appearance, which specifically held that
the doctrine of direct-benefits estoppel rendered the forum-selection clause in
Moreno’s ARA enforceable as to Appellants, carries no preclusive effect in this
appeal, and (2) direct-benefits estoppel does not apply to them based on this record.
Although we agree with Appellants’ first point, contrary to Appellants’ second
assertion, we conclude that direct-benefits estoppel applies here.
      A. Law of the Case
      The parties’ opening sallies concern the applicability of the doctrine of law of
the case. Because the Second Court of Appeals’ decision, which affirmed the denial
of Appellants’ special appearance, was based on many of the same facts as well as
the same legal principles—that the parties assert are applicable and dispositive
here—Appellee urges that we must apply the preclusive effect of the law of the case
doctrine to the matter before us.
      Under this doctrine, “a court of appeals is ordinarily bound by its initial
decision if there is a subsequent appeal in the same case.” Briscoe v. Goodmark
                                          23
Corp., 102 S.W.3d 714, 716 (Tex. 2003) (citing Hudson v. Wakefield, 711 S.W.2d
628, 630 (Tex. 1986)). Law of the case applies when the appellate court is presented
with facts that are “substantially the same” as those that existed when the matter was
first decided. See Hudson, 711 S.W.2d at 630. “The doctrine . . . only applies to
questions of law and does not apply to questions of fact.” Id. Functionally, the
doctrine narrows the issues in subsequent stages of the litigation, thus achieving
uniformity of decision and judicial economy and efficiency. Id. Suffice it to say,
the parties to this appeal have yet to subscribe to the principles of judicial economy
and efficiency. Nevertheless, a decision rendered on an issue by the appellate court
does not absolutely bar the reconsideration of the same issue in a second appeal.
Briscoe, 102 S.W.3d at 716. Instead, application of the doctrine lies within the
discretion of the appellate court, depending on the particular circumstances that are
presented in the case before it. Id.
      The prior stage of litigation, to which the parties refer, only concerns the trial
court’s exercise of personal jurisdiction over Appellants, which they challenged via
special appearance. Deaton, 2017 WL 4683940, at *3–5. Rule 120a of the Texas
Rules of Civil Procedure addresses the procedure for making and contesting a special
appearance, and the rule makes clear that the parameters of inquiry—personal
jurisdiction—at that stage are only preliminary. See TEX. R. CIV. P. 120a. For
instance, among other things, the rule sets out what may be considered and form the
basis of a trial court’s ruling on a special appearance: “[T]he pleadings, any
stipulations made by and between parties, such affidavits and attachments as may be
filed by the parties, the results of discovery processes, and any oral testimony.”
TEX. R. CIV. P. 120a (3); see In re Christianson Air Conditioning &amp; Plumbing, LLC,
639 S.W.3d 671, 676–78 (Tex. 2022) (orig. proceeding) (discovery under Rule 120a
is limited to information “essential” to the plaintiff’s theory of personal jurisdiction).
The rule also “recognizes that issues of fact determined in a special appearance may
                                           24
also be relevant to the merits, as it expressly leaves those issues open for
redetermination at the merits stage.” Christianson Air Conditioning, 639 S.W.3d at
677; see TEX. R. CIV. P. 120a(2) (“No determination of any issue of fact in
connection with the objection to jurisdiction is a determination of the merits of the
case or any aspect thereof.”).
        Thus, Rule 120a specifically limits what the trial court may consider, as well
as the extent of the resulting findings, in its jurisdictional inquiry. Although some
courts have applied the law of the case doctrine to appeals that involve the
reconsideration of a trial court’s finding(s) in a special appearance setting, we have
not found an example, nor have the parties cited to or directed us to any, that parallels
the circumstances before us, in which a court has applied the doctrine in the manner
urged by Appellee—that is, to treat the finding(s) from a special appearance ruling,
which is clearly a jurisdictional-only determination, as binding in a subsequent
determination on the merits. As such, we decline to do so here. 9
        B. Direct-Benefits Estoppel
        Despite the parties’ jurisdictional arguments, the primary thrust of Appellants’
complaints on appeal is that direct-benefits estoppel is inapplicable to the
circumstances that we must confront in this appeal, and that they therefore cannot
be bound by the arbitration clause in Appellee’s representation agreement with
Moreno. We disagree.
        Direct-benefits estoppel is a type of equitable estoppel under which a non-
signatory plaintiff who seeks the benefits under a contract is estopped from
simultaneously attempting to avoid the contract’s burdens, such as the obligation to


        9
         See also Perry Homes, 258 S.W.3d at 585–86 (rejecting the argument that pre-arbitration
mandamus proceedings—in which requests to stay the order compelling arbitration were denied without
addressing or commenting on the merits—established the law of the case and precluded the defendants
from raising the same arguments when challenging on direct appeal, post-arbitration, the trial court’s order
to compel arbitration).
                                                    25
arbitrate disputes. See Kellogg, 166 S.W.3d at 739 (citing Bridas, 345 F.3d at 361–
62). Direct-benefits estoppel involves “non-signatories who, during the life of the
contract, have embraced the contract despite their non-signatory status but then,
during litigation, attempt to repudiate the arbitration clause in the contract.” Hellenic
Inv. Fund, Inc. v. Det Norske Veritas, 464 F.3d 514, 517–18 (5th Cir. 2006)
(emphasis added) (quoting E.I. DuPont de Nemours &amp; Co. v. Rhone Poulenc
Fiber &amp; Resin Intermediates, S.A.S., 269 F.3d 187, 200 (3rd Cir. 2001)).
        There are two circumstances in which direct-benefits estoppel may apply: “A
non-signatory can ‘embrace’ a contract containing an arbitration clause in two ways:
(1) by knowingly seeking and obtaining ‘direct benefits’ from that contract; or (2) by
seeking to enforce the terms of that contract or asserting claims that must be
determined by reference to that contract.” Noble Drilling Servs., Inc. v. Certex USA,
Inc., 620 F.3d 469, 473 (5th Cir. 2010) (emphasis added) (quoting Hellenic Inv.
Fund, 464 F.3d at 517–20)); see Taylor Morrison of Tex., Inc. v. Ha, 660 S.W.3d
529, 533 (Tex. 2023) (holding that even though a home-construction contract that
included an arbitration clause was signed by only one spouse, the non-signatory
spouse and their children were nonetheless bound by the contract’s arbitration
clause, and thus were required to arbitrate their construction defect claims, because
they sought and obtained direct benefits and “embraced” the contract by residing in
the home that the signatory spouse purchased); see also Weekley Homes, 180 S.W.3d
at 131–33. Here, Appellants have not asserted any claims against Moreno or
Appellee in this case,10 therefore they have neither sought to enforce the terms of the
ARA nor have they asserted claims that must be determined by reference to it.



        10
          Although Appellants asserted counterclaims in the arbitration proceeding, our analysis only
concerns the applicability of the arbitration clause as to Appellants. The claims that they did assert in the
arbitration proceeding do not affect that analysis.
                                                     26
      However, and based on our thorough review of the record and the
circumstances before us, we conclude that Appellants have embraced the ARA by
knowingly seeking and obtaining direct benefits from it. Appellants claim that
(1) they had a fee-sharing contract with Appellee which did not contain an
arbitration clause, (2) this contract defined the parties’ relationship, and (3) the ARA
and its arbitration clause are entirely superfluous to that relationship. In light of
Appellants’ arguments, we will first discuss how they sought and obtained direct
benefits from the ARA. Next, we will explain how Appellants did so “consistently
and knowingly.” Weekley Homes, 180 S.W.3d at 135; see Ha, 660 S.W.3d at 533.
             1. Appellants “Sought and Obtained Direct Benefits”
      A party can bind itself to an arbitration provision through its conduct during
the life of the contract. See Weekley Homes, 180 S.W.3d at 132. For example, the
use of a trade name that is pursuant to an agreement that includes an arbitration
clause, or the receipt of lower insurance rates and the ability to sail under the French
flag because a contract contains an arbitration clause have been found to bind non-
signatories to the arbitration provisions in those scenarios because these intangible
or abstract benefits were derived directly from agreements that included arbitration
provisions. Deloitte Noraudit A/S v. Deloitte Haskins &amp; Sells, U.S., 9 F.3d 1060,
1064 (2nd Cir. 1993) (holding that, under ordinary contract and agency principles,
non-signatory Noraudit was estopped from denying its obligation to arbitrate
because it knowingly accepted the benefits of the agreement through its continued
use of the name “Deloitte”) (citing McCallister Bros. Inc. v. A &amp; S Transp. Co., 621
F.2d 519, 524 (2nd Cir. 1980)); see Am. Bureau of Shipping v. Tencara Shipyard
S.P.A., 170 F.3d 349, 353 (2nd Cir. 1999); see also Ha, 660 S.W.3d at 533
(“[R]egardless of whether they asserted contract claims, Mrs. Ha and the children
are nevertheless bound to the arbitration provision through direct-benefits estoppel
[because] . . . [they] lived in the home at issue. [This] indicates that they accepted
                                          27
the benefits of Mr. Ha’s purchase agreement and therefore may be compelled to
arbitrate.”).
       A non-signatory’s conduct in seeking and obtaining direct benefits must be
knowing and consistent in order to “embrace” the contract, as opposed to merely
“shake[] hands with it.” Weekley Homes, 180 S.W.3d at 134–35. Because “the
equitable nature of the doctrine may render firm standards inappropriate,” the
doctrine requires “trial courts to exercise some discretion based on the facts of each
case.” Id. at 135 (citing Bridas, 345 F.3d at 360). Nevertheless, “when a nonparty
consistently and knowingly insists that others treat it as a party [to the contract], it
cannot later ‘turn[] its back on the portions of the contract, such as an arbitration
clause, that it finds distasteful.’” Id. (quoting DuPont, 269 F.3d at 200) (internal
citations omitted). Simply put, the North Star and guiding principle for courts to
follow in determining whether to apply the doctrine is this: “A nonparty cannot both
have his contract and defeat it too.” Id.       In our view, and based on the record before us, Appellants sought and
obtained a direct benefit from the ARAs by actively and continuously expanding
their role in the Kugel Mesh litigation beyond that which they and Appellee had
contemplated in their fee-sharing agreement. This expansion was not sufficiently
accounted for by the revised fee-sharing agreement. Key developments in the
litigation and the global settlement that were spurred by Appellants’ conduct indicate
that—both before and after they became aware of the arbitration provisions
contained in the client ARAs—Appellants purposefully sought and occupied a role
that exceeded the scope of what their fee-sharing agreement specified. Together,
these key developments establish that Appellants sought and obtained direct benefits
from the client ARAs by purporting to wield authority on behalf of the clients that
their fee-sharing agreement with Appellee did not grant them.


                                            28
      The “key” developments referenced above are: Appellants’ (1) belief that,
through their ongoing efforts, they had so rehabilitated Patton’s lawsuit as to have
created a high value for that individual case, which in turn influenced the settlement
value of all of Appellee’s cases; (2) role as lead negotiator during the unsuccessful
mediation in the Rhode Island superior court; (3) refusal to cooperate in the
establishment of the QSF, which was necessary to consummate any individual client
settlements, until Appellants’ demands were met; (4) refusal to accept Appellee’s
decision to terminate them, levying of an attorney’s fee lien, and filing motions to
segregate $1 million of the QSF funds; (5) execution of the stipulation for
nondisclosure of client information, confirming that the ARAs were the source of
their authority, and (6) filing motions to disburse the entire $1 million years later,
despite their possession of the client ARAs and knowledge that their maximum claim
and recovery for attorney’s fees as it related to the Kugel Mesh litigation amounted
to approximately $400,000.
      The first two developments essentially acted to change Appellants’
expectations of the case and their perception of their role in it. Whether this change
was justified or correct is not relevant to our analysis. It is sufficient to conclude
that Appellants expended significant time, effort, and monies into developing the
Patton lawsuit and leading the negotiations during the mediation in the Rhode Island
superior court.    And, to Appellants’ understanding, these efforts collectively
contributed in a significant way to the overall team effort of reaching a global
settlement of Appellee’s lawsuits.
      Next, Appellants claim that as settlement negotiations neared their successful
conclusion, Appellee did not communicate with them in a manner that Appellants
considered to be to their satisfaction. Again, the reasonableness of Appellants’
perception of these events is not relevant here. Appellants repeatedly requested
updates about the status of settlement negotiations and received little or no response.
                                          29
      Then, after the global settlement was reached in principle, Appellants believed
that they were not appropriately informed of this development and its implications.
Ultimately, Appellants’ response to this uncertainty was to advance their position
that the settlement could not proceed until their demands and concerns were
addressed and met. They refused to sign the QSF stipulation and thus delayed, and
potentially jeopardized, the entire global settlement. During this time, Appellants
asserted their authority to delay the settlement proceedings because they were the
only counsel of record in the Rhode Island state court lawsuits. They also claimed
that Appellee’s alleged confidentiality concerns were absurd because Appellants had
been the lead negotiators during the superior court mediation and were a fee-sharing
counsel to those state court lawsuits. They did not address Appellee’s expressed
concern that they could not meet the confidentiality requirements and definitions in
the MSA because they separately represented other Kugel Mesh clients as local
counsel in other lawsuits.
      When, because of their refusal to facilitate the global settlement, Appellants
were terminated as local counsel for nearly all the lawsuits pending in the Rhode
Island superior court, Appellants refused to either accept that they had been
terminated or were required to withdraw from the lawsuits, despite having received
client affidavits confirming their termination in most of the cases. Then Appellants
filed a motion, purportedly on behalf of all the same clients, to compel the disclosure
of settlement information from Appellee and Bard/Davol, and to segregate an
exorbitant amount of the settlement funds for the sole and exclusive purpose of
funding, and allowing them to address, their decades-long dispute with Appellee.
Though Appellants argue that they intended their “informal” attorney’s fee lien to
apply only to attorney’s fee funds, the actual and unfortunate result of the
segregation order affected the distribution of client funds as well.


                                          30
      After they received the client ARAs, the global settlement MSA, and
information regarding the QSF funds, Appellants still did not alter their position or
seek to reduce the amount of funds in the QSF that were segregated at their request,
although it was apparent that the maximum amount of attorney’s fees to which they
were entitled amounted only to approximately $400,000.           Appellants did not
disavow the stipulation they signed before receiving the ARAs, which explicitly
confirmed that they acted pursuant to the authority granted to them in the ARAs. In
fact, in 2020, years after receiving the first ARAs in the summer of 2016 pursuant
to the superior court’s order, Appellants took affirmative action to obtain the entire
$1 million of the segregated funds from the QSF. Their motion to disburse primarily
focused on the legal malpractice lawsuit that Patton filed against Appellee, which
Appellants had funded to the tune of almost $500,000—funds which Appellants now
request be reimbursed to them through the segregated $1 million.
      Whether Appellants’ actions in all of this were justified, reasonable, or
otherwise, does not factor into our analysis of this quagmire. Rather, the question
that we must address is whether Appellants knowingly sought and obtained direct
benefits from the ARAs. Based on the record before us, we conclude that they did.
Like sailing under the French flag, see Am. Bureau of Shipping, 170 F.3d at 353,
using the well-known tradename “Deloitte,” see Deloitte, 9 F.3d 1064, or residing
in a home that the signatory spouse purchased when the construction contract
included an arbitration clause as one of its terms, see Ha, 660 S.W.3d at 533,
Appellants exercised their authority as counsel for the Kugel Mesh clients to
interfere with and affect the entire global settlement in several respects—authority
Appellants’ sparse fee-sharing agreement could not reasonably confer upon them
and ways in which it did not contemplate.          Disregarding any confidentiality
concerns, whether those were ultimately reasonable or not, Appellants blocked the


                                         31
global settlement for an extended period of time by refusing to sign the QSF
stipulation until their concerns and demands were addressed to their satisfaction.
      In this instance, Appellants persistent conduct constitutes “embracing” the
authority granted to them by the ARAs, beyond any level that the fee-sharing
agreement could purport to grant. Appellants’ concerns about their attorney’s fee
recovery did not necessitate or authorize them to take the fate of the entire global
settlement into their hands—their proffered justifications for doing so, such as
concerns about the values of client settlements, had nothing to do with their
attorney’s fee recovery. Despite this, we note that Appellants later conceded that
signing the requested QSF documents would not have resulted in the dismissal of
any client lawsuits or affected the individual settlements that had yet to be allocated.
The context of their relationship with Appellee, especially concerning Appellants’
efforts in the Patton lawsuit, implies that Appellants believed they were unfairly
excluded from a process to which they had significantly contributed and developed.
This reading of the parties’ history is especially vindicated by Appellants protracted
and disproportional financial support of Patton’s subsequent legal malpractice
lawsuit against Appellee and its attorneys. To be sure, we do not necessarily give
credence to Appellee’s touted confidentiality concerns with respect to its refusal to
tender basic settlement information to an attorney and firm with which they had
litigated and settled cases for the past six years. However, in seeking to assert their
interests, Appellants purposely chose to take actions in their capacity as counsel for
the Kugel Mesh clients. Such actions could only have been authorized by the client
ARAs, not the fee-sharing agreement.
      But Appellants did not stop at thwarting the purpose of the QSF. They refused
to either accept their termination as local counsel or withdraw from the pending
Kugel Mesh lawsuits. Appellants then filed a motion on behalf of the very clients
who had terminated them, without the clients’ consent, the result of which was to
                                          32
segregate a large sum from the general settlement fund for their own, exclusive
interests. Finally, years later, when they unquestionably knew that their claim for
attorney’s fees did not, and could not, approach anything close to $1 million,
Appellants still sought to extract the entire amount.
      Based on this record, we conclude that the facts before us constitute a
conscious insistence by Appellants that they be treated as a party to the client ARAs.
In this regard, the insistence was knowing and consistent, and it sought and obtained
a direct benefit for Appellants from the ARAs—the authority to act on behalf of all
the Kugel Mesh clients, independently and even in opposition to Appellee, the
clients’ primary counsel, in ways that affected all of the clients’ settlements, which
authority was far beyond and exceeded their designated duties as local counsel.
             2. Appellants “Knowingly” Embraced the ARAs
      Importantly, although many of the actions taken by Appellants in seeking and
obtaining a direct benefit from the ARAs occurred before Appellants became aware
of the arbitration provision in the client ARAs, Appellants consistently maintained
and reaffirmed their position as the parties’ disputes unfolded even after they became
aware of the arbitration provision and have continued to take affirmative action in
furtherance of their positions since that time.
      The knowledge element of direct-benefits estoppel has been held by the
Second Court of Appeals to require “actual knowledge” or something closely akin
to it. See Telsmith, Inc. v. 37 Building Products, Ltd., No. 02-19-00220-CV, 2020
WL 719445, at *4–5 &amp; n.4 (Tex. App.—Fort Worth Feb. 13, 2020, no pet.) (mem.
op.) (Holding that direct-benefits estoppel would likely be satisfied if the non-
signatory had (1) access to a copy of the arbitration agreement, (2) a summary of its
essential terms, or (3) a “similar indicia of knowledge.”).
      Here, the record shows that Appellants first came into possession of the client
ARAs during the summer of 2016, after the issuance of the Rhode Island superior
                                          33
court’s March 11 order that directed Appellee to provide them to Appellants. Prior
to this, it is largely undisputed—and the record shows no indication to the contrary—
that Appellants had neither seen any client ARAs nor were they otherwise aware of
the attendant arbitration provision.
      Throughout the Kugel Mesh litigation, the resulting client settlements, and the
subsequent attorney’s fee dispute, Appellants have asserted a clear position based
on authority that emanated exclusively from the client ARAs. When Appellants
became aware of the arbitration provision in the ARAs, they did not alter or disclaim
any aspect of their position; instead, they continued to pursue aggressive, affirmative
action in furtherance of that position, all the while knowing that the basis of their
position flowed directly from the ARA’s grant of authority, rather than their fee-
sharing agreement with Appellee.
      Appellants consistently insisted by their conduct that they be treated as a party
to the ARAs, even after they came into possession of the ARAs, and therefore knew
at that time, if not sooner, that the ARAs contained an arbitration clause. With
respect to the Rhode Island superior court’s rulings, we view Appellants’ efforts to
avoid arbitration under the ARAs necessarily as attempts by them to repudiate a
contract which they knowingly “embraced.” As such, we conclude that Appellants
are bound by the ARA’s terms under the doctrine of direct-benefits estoppel.
      Because Appellants knowingly embraced the terms of the client ARAs, the
trial court, in its discretion, correctly (1) applied the equitable doctrine of direct-
benefits estoppel to bind Appellants to the terms of the ARAs and (2) ordered them
to arbitration pursuant to the ARAs arbitration provision. Therefore, the trial court
did not abuse its discretion as Appellants suggest. Accordingly, we overrule
Appellants’ first issue.
      Moreover, because a valid agreement to arbitrate exists between the parties,
the arbitrator did not abuse its powers by conducting the arbitration and issuing an
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award, and the trial court did not err when it confirmed the arbitrator’s award.
Accordingly, we also overrule Appellants’ second issue.
       C. The Forum Selection Clause of the MSA
       Finally, in their third issue, Appellants contend that “[c]ompelling and
conducting arbitration were also error because of a mandatory forum selection clause
and an already-pending suit” in the Rhode Island superior court. We disagree. The
MSA provides:
       Any dispute arising under this agreement or relating to the subject
       matter thereof, shall be filed only in the Superior Court of Rhode Island
       and Settling Claimants, Claimants’ Counsel and/or Co-Counsel hereby
       submit himself, herself, itself, or themselves to the personal jurisdiction
       of the Superior Court of Rhode Island.
       In its October 2020 order denying Appellee’s motion to stay Appellants’
motion to disburse the QSF funds, the Rhode Island superior court addressed the
question of whether direct-benefits estoppel should bind Appellants to the client
ARAs and its arbitration provisions. See All Individual Kugel Mesh Cases, 2020
WL 6335955, at *4–5. The superior court declined to exercise its discretion to
impose this equitable estoppel theory on Appellants and further noted that
Appellants had “properly brought [their] motion to disburse here, to this Court, as
[Appellee] agreed to do under the master settlement agreement, the stipulation filed
as to the master settlement agreement, and the March 11, 2016 order of this Court.”
Id. at *5.
       However, the superior court later granted Appellee’s motion to stay, stating
that retaining continuing jurisdiction over the QSF “did not thereby bind all
claimants and their attorneys . . . to resolve all disputes underlying the proper
calculation of their ‘legal fees and costs’ through de novo hearings or mini-trials
before this Court.” All Individual Kugel Mesh Cases, 2022 WL 19705089, at *15.
The United States District Court for the District of Rhode Island described this ruling

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to mean that the “litigation of disputes (including those impacting the allocation of
attorney’s fees and expenses from the QSF) that are governed by the ARA clauses
requiring binding arbitration in Texas” are not governed by the forum selection
clause in the MSA, which “does not apply to such disputes because [the effect of
this clause] is limited ‘to any dispute over the substance of the Settlement
Agreement.’” Deaton, 2023 WL 3158933, at *4 (quoting All Individual Kugel Mesh
Cases, 2022 WL 19705089, at *15–16 n.11).
      Moreover, as previously mentioned, the Rhode Island Supreme Court has
issued a stay in the parties’ appeal of the superior court’s October 2020 denial of
Appellee’s motion to stay. Kugel Patch, 317 A.3d at 783. Noting that a disposition
of the matter before us was likely imminent, and that Appellee’s prayed-for relief—
to stay all proceedings pending the resolution of the Texas arbitrations—in the
Rhode Island appeal would thus be rendered moot, the court deemed it prudent to
stay its proceedings until the pair of arbitrations conducted in Texas have reached
final resolution and all appellate review has been exhausted. Id.
      It is significant that the dispute before us is not brought under the MSA.
Rather, this appeal concerns only whether Appellants are obligated to arbitrate under
the terms of the client ARAs. Although the parties’ attorney’s fee dispute will
undoubtedly return to the Rhode Island superior court as they seek the allocation and
disbursement of QSF funds, we have no jurisdiction over the resolution of that
distinct question. Instead, our opinion today affirms the trial court’s order to compel
arbitration and its judgment confirming the arbitrator’s award of $135,000 to
Appellants in quantum meruit damages because Appellants agreed to arbitrate any
dispute arising under the client ARAs when they embraced the terms of those
agreements. Accordingly, we overrule Appellants’ third issue.




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                               IV. This Court’s Ruling
      For the reasons stated above, we affirm the judgment of the trial court.




                                              W. STACY TROTTER
                                              JUSTICE


August 21, 2024
Panel consists of: Bailey, C.J.,
Trotter, J., and Williams, J.




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